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                     Exhibit 2
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STATE OF MINNESOTA                                                              DISTRICT COURT

COUNTY OF RAMSEY                                                 SECOND JUDICIAL DISTRICT


LTL LED, LLC, D/B/A Wolf River Electric,                Court File No.:

Justin Nielsen,
                                                        PLAINTIFFS’ RULE 26.01 INITIAL
Vladimir Marchenko,                                     DISCLOSURES

Luka Bozek, and

Jonathan Latcham,

                  Plaintiffs.
vs.

Google LLC

                  Defendant.


       Pursuant to Rule 26.01, Plaintiffs make the following initial disclosures based on the

information presently known and reasonably available. Plaintiffs reserve the right to supplement

or amend these disclosures pursuant to Rule 26.05.

       1.         Individuals with Discoverable Information:

       The following individuals are likely to have discoverable information that Plaintiffs may

use to support their claims:

              a. Vladimir Marchenko, CEO and Co-Founder of Wolf River Electric. Mr.

                     Marchenko may be contacted through undersigned counsel. His business address

                     is 101 Isanti Parkway NE, Suite G, Isanti, MN 55040. Mr. Marchenko has

                     knowledge regarding the facts of the claims including but not limited to the false

                     and defamatory statements made by Google LLC about Wolf River Electric and
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    its executives; the nature, content, and publication of those statements, including

    who made them, when, and through what medium; the falsity of the statements

    and the reasons they are provably false; the reputational, professional, and

    business harm suffered by Wolf River Electric as a result of the defamatory

    publications; communications received from individuals reacting to or

    referencing the defamatory statements; efforts taken by Wolf River Electric to

    mitigate the harm; the emotional and reputational impact the statements had on

    Wolf River Electric, including Mr. Marchenko personally.

 b. Justin Nielsen, General Manager and Co-Founder of Wolf River Electric. Mr.

    Nielsen may be contacted through undersigned counsel. His business address is

    101 Isanti Parkway NE, Suite G, Isanti, MN 55040. Mr. Nielsen has knowledge

    regarding the facts of the claims including but not limited to the false and

    defamatory statements made by Google LLC concerning Wolf River Electric

    and its executives; the negative impact of those statements on the company’s

    sales operations, including customer acquisition, contract closures, and revenue

    generation; specific instances where customers declined to proceed with sales or

    canceled projects after learning of the defamatory content; the reputational harm

    to Wolf River Electric within the sales market, including among prospective

    customers and industry partners; internal communications and meetings

    addressing the sales fallout from the defamatory publications; the company’s

    sales strategies, metrics, and performance indicators affected by the false

    statements; customer and lead interactions referencing or influenced by the




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    defamatory content; and the emotional and reputational impact the statements

    had on Mr. Nielsen.

 c. Luka Bozek, President and Co-Founder of Wolf River Electric. Mr. Bozek may

    be contacted through undersigned counsel. His business address is 101 Isanti

    Parkway NE, Suite G, Isanti, MN 55040. Mr. Bozek has knowledge regarding

    the facts of the claims including but not limited to the defamatory statements

    made by Google LLC about Wolf River Electric and its executives; the

    operational and reputational impact those statements had on the company’s

    installation activities; customer cancellations, delays, or complaints arising after

    the publication of the false statements; internal business disruptions and lost

    revenue attributable to the defamatory publications; and specific reputational

    harm to Mr. Bozek and his role in the solar industry; and communications with

    employees, vendors, and customers addressing the false statements.

 d. Jonathan Latcham, CFO of Wolf River Electric. Mr. Latcham may be contacted

    through undersigned counsel. His business address is 101 Isanti Parkway NE,

    Suite G, Isanti, MN 55040. Mr. Latcham has knowledge regarding the facts of

    the claims including but not limited to the defamatory statements made by

    Defendant concerning Wolf River Electric and its executives; the financial

    impact of those statements on the company, including lost business, diminished

    revenue, canceled contracts, and related damages; internal financial assessments

    and documentation quantifying harm to the company and assisting in the

    calculation of damages; communications with customers, vendors, or industry

    partners referencing the defamatory content and affecting financial operations;



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    strategic and financial decisions taken in response to the harm caused by the

    publications, including mitigation costs; the personal reputational harm Mr.

    Latcham suffered as a result of being named or implicated in the defamatory

    content; and emotional distress experienced by Mr. Latcham due to public

    perception, industry backlash, and harm to his professional standing and

    integrity.

 e. Greg Rolff, Sales Manager of Wolf River Electric. Mr. Rolff may be contacted

    through undersigned counsel. His business address is 101 Isanti Parkway NE,

    Suite G, Isanti, MN 55040. Mr. Rolff has knowledge regarding the facts of the

    claims including but not limited to customer cancellations or objections tied to

    the false statements; changes in lead conversion, client behavior, or sales team

    morale       and   employment     following   the   publications;   internal   sales

    communications addressing the defamatory content; and sales team efforts to

    mitigate reputational damage.

 f. Luke Johnson, Customer Success Manager of Wolf River Electric. Mr. Johnson

    may be contacted through undersigned counsel. His business address is 101

    Isanti Parkway NE, Suite G, Isanti, MN 55040. Mr. Johnson has knowledge of

    the facts and claims of the matter.

 g. Cody Rossmann, Senior Project Manager of Wolf River Electric. Mr. Rossmann

    may be contacted through undersigned counsel. His business address is 101

    Isanti Parkway NE, Suite G, Isanti, MN 55040. Mr. Rossmann has knowledge

    of the facts and claims of the matter.




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 h. Brandon Lotsberg, owner of Northern Lights Solar Company LLC, 11017

    Sweetwater Path Woodbury, MN 55129. Mr. Lotsberg has knowledge of the

    facts and claims of the matter.

 i. James Ayer, Sales Representative of Northern Lights Solar LLC, 11017

    Sweetwater Path Woodbury, MN 55129. Mr. Ayer has knowledge of the facts

    and claims of the matter.

 j. First United Methodist Church, 1107 Pinecone Road S, Sartell, MN 56377. First

    United Methodist Church may have discoverable information regarding

    Google’s defamation against Plaintiffs.

 k. Thomas Floading. Mr. Floading may have discoverable information regarding

    Google’s defamation against Plaintiffs.

 l. Scott Dowling. Mr. Dowling may have discoverable information regarding

    Google’s defamation against Plaintiffs.

 m. Anthony Coronato. Mr. Coronato may have discoverable information regarding

    Google’s defamation against Plaintiffs.

 n. Christine Coronato. Mrs. Coronato may have discoverable information

    regarding Google’s defamation against Plaintiffs.

 o. Terri Bose. Ms. Bose may have discoverable information regarding Google’s

    defamation against Plaintiffs.

 p. Chris N/A. Chris may have discoverable information regarding Google’s

    defamation against Plaintiffs.

 q. Kirk N/A. Kirk may have discoverable information regarding Google’s

    defamation against Plaintiffs.



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              r. Myron Larose. Mr. Larose may have discoverable information regarding

                  Google’s defamation against Plaintiffs.

              s. Richard Hale. Mr. Hale may have discoverable information regarding Google’s

                  defamation against Plaintiffs.

              t. Tony Bouri. Mr. Bouri may have discoverable information regarding Google’s

                  defamation against Plaintiffs.

              u. Justin Nicklaus. Mr. Nicklaus may have discoverable information regarding

                  Google’s defamation against Plaintiffs.

              v. Thomas Lewis. Mr. Lewis may have discoverable information regarding

                  Google’s defamation against Plaintiffs.

              w. Eric Lehtis. Mr. Lehtis may have discoverable information regarding Google’s

                  defamation against Plaintiffs.

              x. Jennifer Schaefer. Ms. Schaefer may have discoverable information regarding

                  Google’s defamation against Plaintiffs.

              y. Liz Reid, Google Search VP. Ms. Reid has discoverable information regarding

                  AI Overviews.

              z. Google employees and witnesses currently not known to Plaintiffs.

       2. Documents and Tangible Things:


       The following categories of documents may be used to support Plaintiffs’ claims and are

in Plaintiffs’ possession, custody, and control:

               a. Documents evidencing Google’s autocomplete suggestions referencing

                   Plaintiff Wolf River Electric;




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  b. Over 150 documents evidencing defamatory content published by Google

     concerning Wolf River Electric;

  c. Over 25 documents evidencing defamatory content concerning Plaintiff Justin

     Nielsen;

  d. Over 40 documents evidencing defamatory content concerning Plaintiff

     Vladimir Marchenko;

  e. Over 25 documents evidencing defamatory content concerning Plaintiff Luka

     Bozek;

  f. Over 10 documents evidencing defamatory content concerning Plaintiff

     Jonathan Latcham;

  g. Over 80 documents evidencing defamatory content concerning other solar

     industry businesses;

  h. Over 250 documents evidencing defamatory content concerning non-solar

     businesses;

  i. Google Analytics data and related reports showing changes in user traffic,

     search impressions, click-through rates, and engagement patterns attributable

     to the defamatory content;

  j. Google Business Profile documentation, including visibility statistics, reviews,

     profile edits, public interactions, and user engagement metrics;

  k. News articles and media reports addressing factual inaccuracies and

     reputational concerns associated with Google's AI Overview product;

  l. Financial records, including profit and loss statements, revenue reports, and

     projections affected by reputational harm;



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      m. Recordings relevant to the defamatory content;

      n. Sales proposals, bid submissions, and related documentation reflecting lost or

         disrupted opportunities;

      o. Correspondence, including emails and other communications referencing the

         defamatory statements or their effects;

      p. Contracts and proposals that were affected, canceled, or not renewed due to the

         reputational harm;

      q. Sales and production performance reports, including pre- and post-defamation

         comparisons; and

      r. Documents relating to public relations, IT support, SEO remediation, and

         online reputation management services retained in response to the defamatory

         publications.

3. Computation of Damages:

      a. Plaintiff Wolf River Electric’s damages are currently estimated to range from

         $110,175,000.00 - $210,175,000.00, as follow:

          i. Reputational Harm: Plaintiff Wolf River Electric has suffered substantial

             harm to its reputation in the solar energy industry and community as a direct

             result of Google’s defamatory AI-generated content. This includes

             diminished public trust, negative perceptions among potential and existing

             customers, and reputational injury within professional and trade networks.

             Wolf River Electric has incurred and will continue to incur significant costs

             to repair and mitigate this damage, including the use of public relations

             firms,   reputation    management     services,   and   internal   corrective



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        communications. Computations are ongoing, but damages for reputational

        harm are currently estimated to exceed $5,000,000.00.

     ii. Diminished Goodwill: Wolf River Electric seeks damages for the loss of

        goodwill caused by Google’s publication of false and defamatory content.

        Wolf River Electric has spent over ten years building a strong reputation

        and brand presence in the solar industry, with active operations in multiple

        states and ongoing expansion efforts across the Midwest and beyond. The

        defamatory statements falsely implying criminal and unethical conduct

        have undermined public trust, stalled growth, and significantly diminished

        Wolf River Electric’s future trajectory. This reputational harm has

        permanently impaired the company’s goodwill, reflected in reduced market

        opportunities, hesitancy from customers and partners, and suppressed long-

        term business value, which Wolf River Electric estimates to exceed

        $10,000,000.00.

    iii. Lost Profits: Wolf River Electric has suffered the loss of numerous

        customer contracts, project cancellations, and the collapse of active

        business negotiations directly attributable to the defamatory content. These

        losses include lost revenue from residential and commercial solar

        installations, equipment sales, and long-term service contracts. Supporting

        documentation and calculations will be disclosed during discovery.

        Computations are ongoing, however, lost profits are currently estimated at

        $27,500,000.00.




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     iv. Lost Future Profits: The continuing online presence and wide

        dissemination of the defamatory content is expected to cause sustained harm

        to Wolf River Electric’s business. As a result, Wolf River Electric

        anticipates a significant reduction in future opportunities, market share, and

        anticipated growth. The negative impact on customer acquisition and

        retention, as well as long-term brand devaluation, supports a claim for lost

        future profits, the full extent of which will be established through expert

        testimony and financial projections. Computations are ongoing but are

        expected to exceed $10,000,000.00.

     v. Loss of Business Opportunities. Wolf River Electric seeks damages for

        the loss of business opportunities resulting from Google’s publication of

        false and defamatory content. As a rapidly growing solar energy company

        expanding across multiple states, Wolf River Electric was actively building

        toward a public offering within the next few years. The defamatory

        statements, which falsely imply criminal and unethical conduct, have

        severely damaged Wolf River Electric’s credibility with potential investors,

        partners, lenders, and commercial clients. As a result, key projects and

        strategic partnerships were lost or abandoned, investor interest has

        diminished, and the company’s growth trajectory has been drastically

        slowed. Wolf River Electric estimates that the value of lost business

        opportunities, including delayed or derailed progress toward a public

        offering, exceeds $7,500,000.00.




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     vi. Mitigation Efforts. Defamation mitigation efforts including marketing

         consultants and IT professionals to address reputational fallout.

         Computations are ongoing but currently cost Wolf River Electric $25,000

         to $40,000 per month.

    vii. Presumed Damages: Because the statements at issue constitute defamation

         per se under Minnesota law, accusing Wolf River Electric of unlawful

         conduct, unethical business practices, and other disparaging claims,

         damages are presumed and actionable without the need for further proof of

         actual harm. These presumed damages reflect the natural and probable

         consequences of such statements on the reputation and standing of Wolf

         River Electric in the community and industry. Computations are ongoing

         and are expected to exceed $50,000,000.00.

    viii. Special Damages: Wolf River Electric has suffered identifiable and

         particularized losses directly resulting from the defamatory content,

         including the termination of specific customer contracts, project

         cancellations, and prospective clients. These damages will be itemized and

         substantiated during discovery. Computations are ongoing.

     ix. Punitive Damages: Wolf River Electric will seek punitive damages

         pursuant to Minn. Stat. § 549.20, based on Google's willful disregard for the

         truth, failure to exercise reasonable care in the deployment and operation of

         its AI technologies, and reckless indifference to the harm caused. Punitive

         damages are warranted to deter similar misconduct and to hold Google

         accountable for its systemic failures in content moderation, fact verification,



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         and reputational safeguards. Wolf River Electric will seek punitive damages

         in the amount of Defendant’s standard biweekly payroll cost, which is

         currently believed to be an amount in excess of $100,000,000.00.

     x. Attorneys’ fees, Investigative Costs, and Litigation Costs: Pursuant to

         Minn. Stat. § 325D.45, subd. 2, Plaintiff seeks recovery of attorneys’ fees

         and costs to include litigation support counsel, trial counsel, internal counsel

         and support staff, court costs, deposition costs, witness fees, subpoena costs,

         technology and AI support costs, expert costs, and disbursements.

         Computations are ongoing, but damages for attorneys’ fees and costs are

         currently estimated to exceed $175,000.00.

  b. Plaintiff Justin Nielsen’s damages are still being calculated but are expected to

     include, at a minimum, presumed damages, as well as any actual harm resulting

     from the defamation at issue. These damages may include loss of reputation,

     shame, humiliation, emotional distress, embarrassment, diminished standing in

     both personal and professional communities, loss of job opportunities, and other

     career-related and professional related setbacks attributable to the harm caused

     by Google. Total damages are anticipated to exceed $250,000.00.

  c. Plaintiff Vladimir Marchenko’s damages are still being calculated but are

     expected to include, at a minimum, presumed damages, as well as any actual

     harm resulting from the defamation at issue. These damages may include loss

     of reputation, shame, humiliation, emotional distress, embarrassment,

     diminished standing in both personal and professional communities, loss of job

     opportunities, and other career-related and professional related setbacks



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                  attributable to the harm caused by Google. Total damages are anticipated to

                  exceed $250,000.00.

               d. Plaintiff Luka Bozek’s damages are still being calculated but are expected to

                  include, at a minimum, presumed damages, as well as any actual harm resulting

                  from the defamation at issue. These damages may include loss of reputation,

                  shame, humiliation, emotional distress, embarrassment, diminished standing in

                  both personal and professional communities, loss of job opportunities, and other

                  career-related and professional related setbacks attributable to the harm caused

                  by Google. Total damages are anticipated to exceed $250,000.00.

               e. Plaintiff Jonathan Latcham’s damages are still being calculated but are expected

                  to include, at a minimum, presumed damages, as well as any actual harm

                  resulting from the defamation at issue. These damages may include loss of

                  reputation, shame, humiliation, emotional distress, embarrassment, diminished

                  standing in both personal and professional communities, loss of job

                  opportunities, and other career-related and professional related setbacks

                  attributable to the harm caused by Google. Total damages are anticipated to

                  exceed $250,000.00.

       4. Insurance Agreements:

       There are no insurance agreements known to be applicable to this matter that would provide

coverage for the claims asserted or for any potential judgment that may be entered.




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Dated: 06/03/2025


                                    Nicholas J. Kasprowicz #0403808
                                    General Counsel
                                    Wolf River Electric
                                    101 Isanti Parkway NE Suite G
                                    Isanti, MN 55040
                                    Office: (763)229-6662
                                    Nick@wolfriverelectric.com
                                    Attorney for Plaintiffs




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STATE OF MINNESOTA                                                            DISTRICT COURT

COUNTY OF RAMSEY                                                SECOND JUDICIAL DISTRICT


LTL LED, LLC, D/B/A Wolf River Electric,                Court File No.:

Justin Nielsen,
                                                        AFFIDAVIT OF SERVICE
Vladimir Marchenko,

Luka Bozek, and

Jonathan Latcham,

                  Plaintiffs.
vs.

Google LLC,

                  Defendant.


STATE OF MINNESOTA )
                   ) ss.
COUNTY OF ISANTI   )

I, Carolyn Helland, being first duly sworn, depose and state that on June 3, 2025, I served a true
and correct copy via US Mail, and as a courtesy via email, on Defendant, by and through Attorney
Justice Lindell, Greenstein Sellers, PLLC, 121 South 8th Street, Suite 1450, Minneapolis,
Minnesota 55402, Justice@greensteinsellers.com, of the following:

      1. Plaintiffs’ Rule 26.01 Initial Disclosures.




                                        I declare under penalty of perjury that everything I
                                        have stated in this document is true and correct,
                                        pursuant to Minn. Stat. § 358.116.
Dated: June 3, 2025


                                        Carolyn Helland
